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   2   San Diego, California 92101
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   3   Facsimile: (619) 233-4516
   4   Attorney for Material Witness, Cijifredo BENITEZ-Ayvar
   5
                                  UNITED STATES DISTRICT COURT
   6
   7                            SOUTHERN DISTRICT OF CALIFORNIA
   8
   9   UNITED STATES OF AMERICA,             )            Criminal Case No.: 07CR2205
                                             )            Magistrate Case No: 07MJ1839
  10              Plaintiff,                 )
                                             )
  11                                         )            Order to Exonerate the Appearance Bond for
             vs.                             )            the Material Witness and Disburse the Bond
  12                                         )            Funds
       RUBEN GARCIA-CRUZ (1), ALFONSO        )
  13                                         )
       GARCIA-CRUZ (2), FERNANDO             )
  14   AGUIRRE-MARTINEZ (3),                 )
                                             )
  15               Defendants.               )
       _____________________________________ )
  16
  17
                                                    ORDER
  18
  19          IT IS ORDERED that the personal surety bond for $5,000.00, which secured the

  20   presence of material witness Cijifredo BENITEZ-Ayvar is exonerated.
  21
              IT IS FURTHER ORDERED that the Clerk of the District Court shall release and
  22
       disburse the $500.00 held in the Registry of the Court to the surety:
  23
  24                                                 Alfredo Reyes
                                                     768 S. “F” Street
  25                                                 Oxnard, CA 93030
  26
  27
       Dated: October 18, 2007                       ________________________________
  28                                                 U. S. Magistrate Judge
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                      Order to Exonerate the Appearance Bond for the Material Witness
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